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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as regattas by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

ey united Melee. oF America [Unincorporated] VRE LIANE BARR, UNITED STATES ATTORNEY GENERAL, et alia.

Anna Maria Riezinger, Lawful Fiduciary CHARLES RETTIG, IRS COMMISSIONER, et alia.
Anna Maria Riezinger, Lawful Person, et alia.
(b) County of Residence of First Listed Plaintiff -
(EXCEPT IN U.S. PLAINTIFF CASES)

-JS44 (Rev. 11/15)

County of Residence of First Listed Defendant -
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CA j ,
THE TRACT OF LAND INVOLV

Attorneys (/f Known)

 

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number)
The Living Law Firm - Counselors in Law

clo 1336 Staubbach Circle
Anchorage, Alaska 99508 (907) 250 - 5087

MAY 03 2019
CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II]. BASIS OF JURISDICTION (Piace an “X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PAR BOISORAGE; AaKao: for riainaty
(For Diversity Cases Only) and One Box for Defendant)
Ol US. Goverment 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ol © 1 Incorporated or Principal Place o4 04
of Business In This State
2 U.S. Government O 4 Diversity Citizen of Another State 02 QO 2 Incorporated and Principal Place os &s
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a O 3 OO 3. Foreign Nation 6 O86
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only)
L CONTRACT TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STATUTES ]
3 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure © 422 Appeal 28 USC 158 1 375 False Claims Act
120 Marine © 310 Airplane 1 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal © 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729%(a))
GF 140 Negotiable Instrument Liability 0) 367 Health Care/ © 400 State Reapportionment
1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights QO 430 Banks and Banking
1 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent © 450 Commerce
4 152 Recovery of Defaulted Liability 1 368 Asbestos Personal O 840 Trademark O 460 Deportation
Student Loans O 340 Marine Injury Product © 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability LABOR I ITY. Corrupt Organizations
1 153 Recovery of Overpayment Liability PERSONAL PROPERTY [9 710 Fair Labor Standards O 861 HIA (1395ff) OF 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud Act O 862 Black Lung (923) O 490 Cable/Sat TV
4 160 Stockholders” Suits © 355 Motor Vehicle 0 371 Truth in Lending 0 720 Labor/Management © 863 DIWC/DIWW (405(g)) | 0 850 Securities/Commodities/
1 190 Other Contract Product Liability O 380 Other Personal Relations 0 864 SSID Title XVI Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage 0 740 Railway Labor Act O 865 RSI (405(g)) © 890 Other Statutory Actions
O 196 Franchise Injury 0) 385 Property Damage 0 751 Family and Medical OF 891 Agricultural Acts
O 362 Personal Injury - Product Liability Leave Act QO 893 Environmental Matters
Medical Malpractice © 790 Other Labor Litigation O 895 Freedom of Information

REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 791 Employee Retirement FEDERAL TAX SUITS ! Act
© 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: Income Security Act O 870 Taxes (U.S. Plaintiff 2% 896 Arbitration
© 220 Foreclosure 0 441 Voting O 463 Alien Detainee or Defendant) 0 899 Administrative Procedure

O 230 Rent Lease & Ejectment
O 240 Torts to Land

© 245 Tort Product Liability
O 290 All Other Real Property

 

0 442 Employment

0 443 Housing/
Accommodations

0 445 Amer. w/Disabilities -
Employment

0 446 Amer. w/Disabilities -
Other

© 448 Education

 

01 510 Motions to Vacate
Sentence

0 530 General

0 535 Death Penalty

Other:

O 540 Mandamus & Other

0 550 Civil Rights

1 555 Prison Condition

0 560 Civil Detainee -
Conditions of
Confinement

 

IMMIGRATION

 

 

© 462 Naturalization Application
0 465 Other Immigration
Actions

 

© 871 IRS—Third Party
26 USC 7609

 

QO

Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X” in One Box Only)

Ol Onginal

2 Removed from

a

Remanded from

o4

Reinstated or

© 5 Transferred from

O 6 Multidistrict

Another District
(specify)

(Do not cite jurisdictional statutes unless diversity):
AW of Admiralty (Article ill) ERCP Supplemental Rules

Proceeding State Court Appellate Court Reopened Litigation

Cite the U.S. Civil Statute under which you are fili
tifie 50 Appendix 7 (6) (e); the Common

Brief description of cause: : tgs
Return of Property Assets and Enforcement of Contracts via Arbitration

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Yes No
VII. RELATED CASE(S) |
IF ANY (See instructions): RRR DOCKET NUMBER

 

 

DATE SIGNATURE OF ATTORNEY OF RECORD

.

   
 
    

FOR OFFICE U

AMOUNT APPLYING IFP JUDGE MAG. JUDGE

—————_ Case 3:19-cv-00127-TMB Document2” Filed 05/03/19" Page 1 of 1 _

RECEIPT #
